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                  EXHIBIT K
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                                 Amy Lister, M.D.
                                   May 06, 2022

· · · · · · · · · UNITED STATES DISTRICT COURT

· · · · · · · · · ·DISTRICT OF NEW HAMPSHIRE

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· · · · · · · · · · ·C.A. No. 1:21-CV-00131-JD

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· · · · ·VERY REVEREND GEORGES F. DE LAIRE,· · · ·)

· · · · ·J.C.L.,· · · · · · · · · · · · · · · · · )

· · · · · · · · · · · · · · · · · Plaintiff· · · ·)

· · · · ·v.· · · · · · · · · · · · · · · · · · · ·)

· · · · ·GARY MICHAEL VORIS; ANITA CAREY; ST.· · ·)

· · · · ·MICHAEL'S MEDIA a/k/a CHURCH MILITANT,· ·)

· · · · · · · · · · · · · · · · · Defendants· · · )

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· · · · · · · · ·DEPOSITION OF AMY LISTER, M.D.

· · · · · · · · · · · · · May 6, 2022

· · · · · · · · · · · · ·Held Remotely

· · · · · · · · · · · · ·Massachusetts

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· · · · · · · · ·Court Reporter:· Amie D. Rumbo

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                                 Amy Lister, M.D.
                                   May 06, 2022

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16· · · Counsel for the Defendants

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18· · ·ALSO PRESENT:

19· · ·Very Reverend Georges F. de Laire

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·1· · · · · · · · · · · · ·I N D E X

·2· · ·WITNESS· · · · · · · · · · · · · · · · · · · PAGE

·3· · ·AMY LISTER, M.D.

·4· · · ·By Attorney Klaus· · · · · · · · · · · · · · · 5

·5· · · ·By Attorney Elovecky· · · · · · · · · · · · · 36

·6

·7

·8· · ·Confidential portion of testimony beginning at

·9· · ·page 16.

10

11· · ·No exhibits marked.

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·1· · ·that his life was at risk and that it was bad

·2· · ·enough that the FBI had gotten involved.

·3· · · · · · Q.· · ·And looking at the bottom of the

·4· · ·page, in this December of 2018, did you change or

·5· · ·alter Father de Laire's prescriptions in any way?

·6· · ·I see under plan it says "continue current meds."

·7· · ·Does that mean in your notes there was no change

·8· · ·in his medication?

·9· · · · · · A.· · ·That is how I would read it, yes.

10· · · · · · Q.· · ·Okay.· Let's go to page 9.· And is

11· · ·this your note from your session with Father de

12· · ·Laire from March 13th, 2019?

13· · · · · · A.· · ·Yes.

14· · · · · · Q.· · ·Okay.· And again, I apologize, but

15· · ·the same exercise, if you could read into the

16· · ·record your handwritten notes under the CC

17· · ·paragraph.

18· · · · · · A.· · ·I've had a very difficult month or

19· · ·two.· Left -- life threatened multiple times.· In

20· · ·January related to legal -- I'm actually having

21· · ·trouble with my eyes.· I'm really not seeing well.

22· · · · · · Q.· · ·If you can't read your own

23· · ·handwriting -- again, I suffer from the same

24· · ·malady -- you can, you know, just say the parts


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·1· · · · · · · · ·C E R T I F I C A T I O N

·2· · ·Commonwealth of Massachusetts

·3· · ·Middlesex, SS.

·4· · · · · · I, Amie D. Rumbo, Shorthand Stenographic

·5· · ·Reporter and Notary Public in and for the

·6· · ·Commonwealth of Massachusetts, do hereby certify

·7· · ·that AMY LISTER, M.D. came before me on Friday,

·8· · ·May 6, 2022, the deponent herein, who was duly

·9· · ·sworn, and the within transcript is a true record

10· · ·of the testimony given at said deposition.

11· · · · · · I FURTHER CERTIFY that I am neither

12· · ·attorney or counsel for, nor related to or

13· · ·employed by any of the parties to the action in

14· · ·which this deposition is taken; and, further, that

15· · ·I am not a relative or employee of any attorney or

16· · ·counsel employed by the parties hereto, or

17· · ·financially interested in the outcome of the

18· · ·action.

19· · · · · · IN WITNESS WHEREOF I have hereunto set my

20· · ·hand this 19th day of May, 2022.

21

22· · · · · · · · · · · ____________________________
· · · · · · · · · · · · Amie D. Rumbo, Notary Public
23· · · · · · · · ·My Commission expires: 11/18/2027

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